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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA COMPLAINT
- against -
(18 U.S.C. § 2423(a)))
DYLAN PETERSON,
No. 24-MJ-422
Defendant.
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EASTERN DISTRICT OF NEW YORK, SS:

MICHAEL BUSCEMI, being duly sworn, deposes and states that he is a Special
Agent with the Federal Bureau of Investigation, duly appointed according to law and acting as
such.

On or about June 13, 2024, within the Eastern District of New York and
elsewhere, the defendant DYLAN PETERSON did knowingly and intentionally transport a
person who had not attained the age of 18 years, in interstate commerce, to wit: from Tulsa,
Oklahoma to Queens, New York, with the intent to engage in sexual activity with that individual,
for which DYLAN PETERSON could be charged with a criminal offense, to wit: Rape in the
third degree, in violation of New York Penal Law § 130.25(2).

(Title 18, United States Code, Section 2423(a)))

The source of your deponent’s information and the grounds for his belief are as

follows:!

Because the purpose of this Complaint is to set forth only those facts necessary

to establish probable cause to arrest, I have not described all the relevant facts and
circumstances of which I am aware.
1. I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and
I am currently assigned to the Violent Crimes Against Children and Human Trafficking Task
Force. I have been involved in the investigation of numerous cases involving the trafficking and
exploitation of children. I am familiar with the facts and circumstances set forth below from my
participation in the investigation; my review of the investigative file, including the defendant’s
criminal history record; and from reports of other law enforcement officers involved in the
investigation.

PETERSON and Victim-1’s Communications

2. Between approximately June 2023 and June 2024, a minor female
individual known to me (“Victim-1”) and PETERSON exchanged messages on the instant
messaging platform Discord. Based on my training and experience, I know that Discord allows
users to share text and voice messages as well as photographs and videos with other users. I
know that Discord can be accessed both as an application on cellular devices and via web
browser on computers.

3. On or about June 12, 2024, law enforcement agents in Tulsa, Oklahoma
responded to a report of a missing person at Victim-1’s house. Victim-1’s mother provided
consent for law enforcement agents to search a shared computer.

4, On the computer, law enforcement agents in Tulsa, Oklahoma reviewed an
account on Discord belonging to Victim-1, which was shown to law enforcement by Victim-1’s
sister, and which contained correspondence between Victim-1 and another participant between
2023 and 2024. Throughout the interactions, Victim-1 regularly called the subject “Dylan.”
While checking sketchbooks and notebooks at the residence which Victim-1 had been known to

occasionally use, law enforcement discovered the name “Dylan Peterson” within these
notebooks. In the Discord conversations, the other user provided a phone number, which law
enforcement determined was associated with PETERSON.

5. In the correspondence, Victim-] sent nude photographs of herself as well
as videos of herself nude to PETERSON. The conversations between Victim-1 and
PETERSON contained discussions relating to engaging in sexual activity with Victim-1 and
coordinating a time and location for PETERSON to meet Victim-] to engage in the sexual
activity.

6. Discord communications between Victim-1 and PETERSON reflect
Victim-1 telling PETERSON that she was sixteen years old, which information was confirmed
by Victim-1’s birth certificate subsequently obtained by law enforcement. In response,
PETERSON misrepresented his true age (25) to appear to be a minor. On June 4, 2024, at
approximately 10:22 PM, Victim-1 wrote “I’m 16” and PETERSON wrote “And I’m 15.”

PETERSON and Victim-1’s Travel to New York City

7. On or about June 12, 2024, Victim-1 and PETERSON traveled from
Tulsa, Oklahoma to LaGuardia Airport in Queens, New York (“LGA”).

8. On or about June 13, 2024, PETERSON was arrested at LGA by Port
Authority Police for endangering the welfare of a minor. PETERSON was with Victim-1 at the
time of his arrest.

9. On or about June 14, 2024, after an evaluation at a medical facility,
PETERSON was arrested by the FBI. Thereafter, the defendant PETERSON was transported to

the FBI for processing. After being advised of his Miranda rights, PETERSON waived those

rights and made a statement wherein he acknowledged, in sum and in part, that he carried on

communications with Victim-1 via electronic messaging platforms, received nude photographs
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of Victim-1 that PETERSON directed Victim-1 to produce, and met with Victim-1 in Tulsa,
Oklahoma to travel to LGA. PETERSON stated that on or about June 10, 2024, PETERSON
took a long-distance bus from Elmira, New York, where he is believed to live, to Tulsa,
Oklahoma, where Victim-1 resided, after which PETERSON and Victim-1 traveled to LGA.
Victim-1 stated to a social worker at a medical facility that PETERSON purchased her airfare to
LGA. PETERSON advised law enforcement that his family purchased the airfare to LGA.
WHEREFORE, your deponent respectfully requests that the defendant DYLAN

PETERSON, be dealt with according to law.

MICHAEL BUSCEMI
Special Agent, Federal Bureau of Investigation

Sworn to before me this

[ft day of June, 2024

